                  Case 15-10458-MFW             Doc 2112         Filed 01/16/24         Page 1 of 2




                         IN THE UNITED STATES BANKRUPTCY COURT
                              FOR THE DISTRICT OF DELAWARE


    In re:                                                   Chapter 7

    CAL DIVE INTERNATIONAL, INC., et al.,1 Case No. 15-10458 (MFW)
                                           (Jointly Administered)
                        Debtors.
                                                             Re: D.I. 2100


                      CERTIFICATE OF NO OBJECTION REGARDING
                 CHAPTER 7 TRUSTEE’S OBJECTION TO CLAIM #62 FILED BY
                        LOUISIANA DEPARTMENT OF REVENUE


             On December 22, 2023, David W. Carickhoff, the Chapter 7 Trustee of the bankruptcy

estates of the above-captioned Debtors, filed the Chapter 7 Trustee’s Objection to Claim #62 Filed

by Louisiana Department of Revenue [D.I. 2100] (the “Claim Objection”). The Claim Objection

was served upon the creditor by email and by first class mail.

             Pursuant to the Notice served with the Claim Objection, objections to the Claim Objection

were to be filed and served no later than January 8, 2024 at 4:00 p.m. (ET). The undersigned

hereby certifies, as of the date hereof, he has received no formal or informal objections to the

Claim Objection. The undersigned further certifies he has caused the review of the Court’s docket

in the lead case and no objection or other response to the Claim Objection appears thereon.




1
 The Debtors in these cases, along with the last four digits of each Debtor’s federal tax identification number, are Cal
Dive International, Inc. (0501); Cal Dive Offshore Contractors, Inc. (4878); Affiliated Marine Contractors, Inc.
(8678); Fleet Pipeline Services, Inc. (2104); Gulf Offshore Construction, Inc. (2106); and CDI Renewables, LLC
(4985).
            Case 15-10458-MFW          Doc 2112       Filed 01/16/24    Page 2 of 2




       WHEREFORE, the Trustee respectfully requests that the Court enter the proposed Order

in the form attached to the Claim Objection.

Dated: January 16, 2024                        CHIPMAN BROWN CICERO & COLE, LLP

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